Case 1:18-mc-02859-PAC Document 205 Filed 12/16/21 Page 1 of 12
Case 1:18-mc-02859-PAC Document 205 Filed 12/16/21 Page 2 of 12
Case 1:18-mc-02859-PAC Document 205 Filed 12/16/21 Page 3 of 12
Case 1:18-mc-02859-PAC Document 205 Filed 12/16/21 Page 4 of 12
Case 1:18-mc-02859-PAC Document 205 Filed 12/16/21 Page 5 of 12
Case 1:18-mc-02859-PAC Document 205 Filed 12/16/21 Page 6 of 12
Case 1:18-mc-02859-PAC Document 205 Filed 12/16/21 Page 7 of 12
Case 1:18-mc-02859-PAC Document 205 Filed 12/16/21 Page 8 of 12
Case 1:18-mc-02859-PAC Document 205 Filed 12/16/21 Page 9 of 12
Case 1:18-mc-02859-PAC Document 205 Filed 12/16/21 Page 10 of 12
Case 1:18-mc-02859-PAC Document 205 Filed 12/16/21 Page 11 of 12
       Case 1:18-mc-02859-PAC Document 205 Filed 12/16/21 Page 12 of 12



that Nutting affects Pride, at least somewhat, and the Court can dispose of that argument if the

PEC raises it after the Nutting appeal. In any event, this Court lacks the power to force the

individual plaintiffs to enter consent judgments. See Loe. No. 93, Int'! Ass'n ofFirefighters, AFL­

C/O C.L.C. v. City of Cleveland, 478 U.S. 501, 522 (1986). Instead, the Court exercises its

discretion to stay the remaining initial bellwethers pending in the Nutting appeal, in the interest of

efficiently resolving a major issue at the crux of the MDL.

                                          CONCLUSION

       The Court GRANTS Plaintiffs' motion to stay the remaining initial bellwether cases. The

cases Pride, No. 18-cv-10649, Goode, No. 19-cv-3504, and Little, No. 18-cv-10393 are STAYED

pending the resolution of the appeal in Nutting, No. 19-cv-699. Zimmer and the PEC shall meet

and confer before jointly submitting a proposed briefing schedule for a selecting a second round

of four bellwether cases in this MDL. That schedule shall be filed by January 3, 2022.

       The Clerk of Court is directed to close the motion at 18-md-2859, ECF number 496.




 Dated: New York, New York                         SO ORDERED
        December 16, 2021


                                                   HONORABLE PAUL A. CROTTY
                                                   United States District Judge




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